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4               NOTE: CHANGES MADE BY THE COURT
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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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11   SARA SAFARI, PEYMON KHAGHANI,                Case No. 8:22-cv-01562-JWH-KES
     and JASON ROSE, on behalf of
12   themselves and all others similarly          ORDER RE STIPULATION
     situated, and FARM FORWARD, on               REGARDING AMENDED
13   behalf of the general public,                COMPLAINT AND RESPONSE
                                                  DEADLINES [23]
14                    Plaintiffs,
15         v.
16   WHOLE FOODS MARKET, INC., a
     Texas corporation,
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                      Defendant.
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          ORDER RE STIPULATION REGARDING AMENDED COMPLAINT AND
                            RESPONSE DEADLINES
                          CASE NO. 8:22-cv-01562-JWH
     Case 8:22-cv-01562-JWH-KES      Document 26     Filed 10/29/22   Page 2 of 2 Page ID
                                          #:162



1            Having considered the parties’ Stipulation Regarding Amended Complaint and
2    Response Deadlines, and finding that good cause exists, it is hereby ORDERED as
3    follows:
4            1.    Plaintiffs will file an Amended Complaint on or before November 29, 2022.
5            2.    Defendant will respond to the Amended Complaint on or before January 10,
6    2023.
7            3.    If Defendant responds to Plaintiffs’ Amended Complaint with a motion, then
8    Plaintiffs will file any opposition thereto on or before February 9, 2023.
9            4.    Defendant will file any reply on or before February 23, 2023.
10           5.    Defendant shall set the hearing on its motion for March 10, 2023, at
11   9:00 a.m.
12           6.    Defendant’s pending Motion to Dismiss [ECF No. 24] is DENIED as moot.
13           IT IS SO ORDERED.
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15   Dated: October 29, 2022
                                 THE HONORABLE JOHN W. HOLCOMB
16                               UNITED STATES DISTRICT JUDGE
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          ORDER RE STIPULATION REGARDING AMENDED COMPLAINT AND
                            RESPONSE DEADLINES
                          CASE NO. 8:22-cv-01562-JWH
